Case 2:23-cr-20569-SKD-APP ECF No. 40, PageID.363 Filed 01/16/25 Page 1 of 14




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                             Case No. 2:23-cr-20569

v.                                                  Honorable Susan K. DeClercq
                                                    United States District Judge
CARLOS JOHNSON,

          Defendant.
________________________________/

     OPINION AND ORDER DENYING DEFENDANT’S MOTION TO
              DISMISS THE INDICTMENT (ECF No. 18)

      Carlos Johnson is charged with being a felon in possession of a firearm under

18 U.S.C. § 922(g)(1) and with illegal possession of a machinegun under 18 U.S.C.

§ 922(o). Johnson now moves to dismiss the indictment’s felon-in-possession count

under the Second Amendment, arguing that § 922(g)(1) is unconstitutional as applied

to him. ECF No. 37. Bearing on this motion is the Sixth Circuit’s recent decision in

United States v. Williams, which held that § 922(g)(1) “is constitutional on its face

and as applied to dangerous people.” 113 F.4th 637, 662–63 (6th Cir. 2024). As

explained below, because Johnson’s criminal history includes conduct that posed a

significant threat of danger, § 922(g)(1) is constitutional as applied to him. His

motion will therefore be denied.
Case 2:23-cr-20569-SKD-APP ECF No. 40, PageID.364 Filed 01/16/25 Page 2 of 14




                               I. BACKGROUND

      Carlos Johnson is 23 years old. He has five felony convictions, all for

violations of Michigan law:

   • On December 3, 2019, Johnson pleaded guilty to carrying a concealed
     weapon. He was sentenced to two years of probation. ECF No. 34-2 at
     PageID.320.

   • On June 30, 2022, Johnson pleaded guilty to receiving and concealing stolen
     property—motor vehicle. He was sentenced to two years of probation. ECF
     No. 34-3 at PageID.321.

   • On July 21, 2022, Johnson pleaded guilty to three counts of uttering and
     publishing counterfeit bills/notes. ECF No. 34-4.

When Johnson was arrested in connection with the current charges before this Court,

he was still on probation for the stolen-vehicle conviction. ECF Nos. 1 at PageID.6;

36 at PageID.342.

      Johnson moved to dismiss the indictment’s felon-in-possession count in

January 2024, before the case was reassigned to the undersigned. ECF No. 18. Once

the case was reassigned in June 2024, this Court held a status conference in which

the parties requested that a ruling on the motion be delayed until the Sixth Circuit

ruled on § 922(g)(1)’s constitutionality, as a decision was forthcoming. See ECF No.

30. Sure enough, on August 23, 2024, the Sixth Circuit decided Williams, which

provided the necessary guidance. This Court therefore ordered supplemental briefing

on how Williams applies to this case, which the parties provided. See ECF Nos. 31;

34; 37. A hearing on the motion was held on December 18, 2024.
                                       -2-
Case 2:23-cr-20569-SKD-APP ECF No. 40, PageID.365 Filed 01/16/25 Page 3 of 14




                          II. STANDARD OF REVIEW

      Defendants may challenge a defect in an indictment by filing a motion to

dismiss before trial. FED. R. CRIM. P. 12(b)(3)(B). Under Criminal Rule 12, before

trial, defendants may raise “any defense, objection, or request that the court can

determine without a trial on the merits.” FED. R. CRIM. P. 12(b)(1). Indeed, “courts

evaluating motions to dismiss do not evaluate the evidence upon which the

indictment is based,” but focus only on the four corners of the indictment. United

States v. Landham, 251 F.3d 1072, 1079 (6th Cir. 2001).

                                III. DISCUSSION

      Before considering the merits of Johnson’s arguments, it is worth briefly

discussing the current legal landscape of firearm regulation.

                        A. Firearm-Regulation Precedent

      In 2008, the Supreme Court determined that the Second Amendment

guarantees an individual right to keep and bear arms. District of Columbia v. Heller,

554 U.S. 570, 598–600 (2008). At the time, Heller cautioned that no part of its

holding “should be taken to cast doubt on longstanding prohibitions on the

possession of firearms by felons,” such as § 922(g)(1). Id. at 626.

      But in the past several years, the legal landscape of firearm regulation has

changed dramatically. See, e.g., Williams, 113 F.4th at 643–46 (detailing

development of firearm-regulation precedent since Heller); United States v.

                                        -3-
Case 2:23-cr-20569-SKD-APP ECF No. 40, PageID.366 Filed 01/16/25 Page 4 of 14




Jennings, No. 2:24-cr-20173, 2024 WL 4560602, at *2 (E.D. Mich. Oct. 24, 2024)

(same); United States v. Lyle, No. 23-cr-20098, 2024 WL 4819572, at *2 (E.D.

Mich. Nov. 18, 2024) (same). Indeed, in 2022, the Supreme Court announced a two-

step framework under which courts must evaluate the constitutionality of regulations

implicating the Second Amendment. See New York State Rifle & Pistol Ass’n v.

Bruen, 597 U.S. 1, 24 (2022). Under the Bruen framework, courts must “first ask

whether ‘the Second Amendment’s plain text’ covers [the defendant’s] conduct.”

Williams, 113 F.4th at 648 (quoting Bruen, 597 U.S. at 24). If it does, then the

Government must “justify its regulation of that conduct by demonstrating that the

regulation ‘is consistent with the Nation’s historical tradition of firearm regulation.’”

Id. (quoting Bruen, 597 U.S. at 24).

      Recently, in United States v. Williams, the Sixth Circuit evaluated whether the

federal felon-in-possession statute, 18 U.S.C. § 922(g)(1), is constitutional under

Bruen’s two-step framework. 113 F.4th at 650–63. The court held that § 922(g)(1)

is constitutional both on its face and as applied to people whose criminal history

demonstrates dangerousness, id. at 662–63, because “our nation’s history and

tradition demonstrate that Congress may disarm individuals they believe are

dangerous,” id. at 657.

      As a result, when considering as-applied challenges under Williams, district

courts must now evaluate “a defendant’s dangerousness.” Id. at 659. This inquiry is

                                          -4-
Case 2:23-cr-20569-SKD-APP ECF No. 40, PageID.367 Filed 01/16/25 Page 5 of 14




“fact-specific, depending on the unique circumstances of the individual defendant.”

Id. at 660. Courts may consider a defendant’s “entire criminal record,” id. at 659,

which includes any evidence of “past convictions in the record, as well as other

judicially noticeable information,”1 such as prior convictions, id. at 660. It is the

defendant’s burden to show that he is not dangerous. Id. at 662.

      To help guide the dangerousness inquiry, Williams went on to establish three

“categories” of criminal activity for courts to consider:

      1. People who have committed “a crime ‘against the body of another
         human being,’ including (but not limited to) murder, rape, assault,
         and robbery”;

      2. People who have committed “a crime that inherently poses a
         significant threat of danger, including (but not limited to) drug
         trafficking and burglary”; and

      3. People who have committed “crimes that pose no threat of physical
         danger, like mail fraud, tax fraud, or making false statements.”

Id. at 663.

      A person falling into the first and second categories “will have a very difficult

time, to say the least, of showing he is not dangerous.” Id. at 663. But that is not the

case for the third category of crimes, which often “cause no physical harm to another

person or the community.” Given that fact, the Sixth Circuit noted that district courts


1
  A judicially noticeable fact is one that is “not subject to reasonable dispute”
because it “(1) is generally known within the trial court’s territorial jurisdiction; or
(2) can be accurately and readily determined from sources whose accuracy cannot
reasonably be questioned.” FED. R. EVID. 201(b).
                                       -5-
Case 2:23-cr-20569-SKD-APP ECF No. 40, PageID.368 Filed 01/16/25 Page 6 of 14




should “have no trouble” concluding that many of the crimes in the third category

do not make a person dangerous. Id. at 659.

                B. Facial Challenges to § 922(g)(1) and to Williams

        To start, Johnson contends that § 922(g)(1) is overbroad and thus facially

unconstitutional, and that Williams improperly attempted to rewrite that statute. ECF

No. 31 at PageID.294–95. Johnson also contends that Williams’s “dangerous

person” test is void for vagueness. Id. at PageID.295–98. Whatever merit these

arguments may or may not have, Williams forecloses facial challenges to

§ 922(g)(1). 113 F.4th at 662 (“[W]e hold today that § 922(g)(1) is constitutional on

its face.”). And this Court remains duty-bound to apply Williams unless or until the

Sixth Circuit or the Supreme Court says otherwise. Therefore, these arguments must

fail.

                      C. As-Applied Challenge to § 922(g)(1)

        Johnson next argues that § 922(g)(1) is unconstitutional as applied to him

because his criminal history does not include dangerous conduct. However, before

turning to Johnson’s specific felony convictions, it is worth discussing what

evidence should be considered in making the dangerousness determination.

                   1. What Evidence Should the Court Consider?

        In arguing that Johnson is dangerous, the Government relies on allegations of

violence from state presentence reports (PSRs) and a state probation-violation

                                         -6-
Case 2:23-cr-20569-SKD-APP ECF No. 40, PageID.369 Filed 01/16/25 Page 7 of 14




report, and the allegations underlying the current charges. Johnson objects that these

are inappropriate to consider under the Williams inquiry.

      Recall that Williams directs courts to make “fact-specific” dangerousness

determinations that “depend[] on the unique circumstances of the individual

defendant.” 113 F.4th at 660. Williams also permits courts to consider a defendant’s

“entire criminal record,” id. at 659, which includes any evidence of “past convictions

in the record, as well as other judicially noticeable information,” such as prior

convictions, id. at 660.

      But what does this mean in practice? Over this, the parties disagree. For one,

Johnson takes issue with how the Government relies heavily on allegations from

state presentence reports (PSRs) and a state probation-violation report in arguing

that he is dangerous. See ECF No. 34 at PageID.307–09 (citing ECF Nos. 35-1; 35-

2; 35-3; 35-4 (all sealed)). For instance, the Government cites the PSR and the

probation-violation report related to Johnson’s conviction for receiving and

concealing a motor vehicle. ECF Nos. 35-2; 35-4. That PSR describes how police

responded to a potential breaking and entering, where Johnson was alleged to have

kicked in the front door of a house, and where an officer heard a woman scream,

“Get out of my house!” ECF No. 35-2 at PageID.333. And the probation-violation

report alleges that Johnson physically assaulted two women—hitting one of them in




                                        -7-
Case 2:23-cr-20569-SKD-APP ECF No. 40, PageID.370 Filed 01/16/25 Page 8 of 14




the head with a handgun—and that he fired several shots through the backseat of his

car and out the car window. ECF No. 35–4 at PageID.338–39.

      Johnson notes that this information comes from sections titled “Agent’s

Description of the Offense,” which, he says, are often just police reports copied and

pasted into the PSRs. ECF No. 37 at PageID.345. Because these “agent descriptions”

contain “unsourced hearsay, untested accusations,” and information “regarding

conduct that was never charged,” Johnson argues that they are unreliable and thus

inappropriate for the Court’s consideration under Williams. Id. at PageID.344.

      The Government retorts that, in Williams itself, the Sixth Circuit considered

the defendant’s PSR, which “provided details about his long record of past crimes.”

113 F.4th at 662. Williams also found it significant that the defendant there had never

objected to the PSR’s contents. 2 Id. Certainly, as Johnson concedes, some

information in the state PSRs may be appropriate to consider, like unchallenged facts

describing the offense conduct, or facts about a defendant’s background or criminal

history. ECF No. 31 at PageID.291.

      But in truth, this Court is skeptical about accepting all information in the state

PSRs at face value. This skepticism is for several reasons. First, the process for

creating PSRs at the state level appears to vary among counties, with differing



2
  Here, it is unknown whether Johnson objected to the contents of the PSRs during
the state proceedings.
                                      -8-
Case 2:23-cr-20569-SKD-APP ECF No. 40, PageID.371 Filed 01/16/25 Page 9 of 14




degrees of defendant and defense-attorney input, which could bear on a PSR’s

reliability.3

       Second, the portions of PSRs incorporating police reports may include

allegations of uncharged conduct, hearsay, and similar information whose reliability

cannot be assumed. Consider again the allegations of breaking and entering and

physical assault against Johnson. Of course, these actions would suggest

dangerousness, which is perhaps why the Government cited these alleged incidents

in its briefing. ECF No. 34 at PageID.307–09. However, Johnson was never charged

with or convicted of breaking and entering, nor with any type of assault, meaning

that these allegations remain a far cry from the “judicially noticeable information”

that Williams deems appropriate to consider. And, really, none of these allegations

relate to what he was convicted of (i.e., the stolen-vehicle charge), so it is doubtful

that they form part of his criminal record.



3
  At oral argument, both the Government’s counsel and Johnson’s counsel discussed
their experiences in state-court criminal practice with PSRs. Johnson’s counsel had
practiced in Wayne County and stated that the PSR process there was often truncated
in a manner prejudicial to defendants. She noted that, until recently, state defense
attorneys were excluded from presentence interviews, that a proposed PSR was
provided to defense attorneys only two days before sentencing, and that there was
no process for submitting written objections. The Government’s counsel, on the
other hand, had practiced in Jackson County and described a much more iterative
process. He noted that both parties would receive a proposed PSR well before
sentencing and that there were opportunities to dispute its contents both with the
probation department and the judge. Contested parts of the report would then be
stricken before a finalized version was issued.
                                         -9-
Case 2:23-cr-20569-SKD-APP ECF No. 40, PageID.372 Filed 01/16/25 Page 10 of 14




      For largely the same reasons, this Court will also not consider the allegations

underlying the instant charges against Johnson. The facts surrounding both the felon-

in-possession and the machinegun charges remain heavily disputed, and Johnson has

not yet been convicted.

      In sum, though there are not yet exact contours on the universe of information

to be considered in the Williams inquiry, it is not as vast as the Government suggests.

                           2. Johnson’s Criminal History

      Turning now to Johnson’s undisputed criminal history: he has five prior

convictions across three cases, including three counts of uttering and publishing

counterfeit bills or notes,4 one count of receiving and concealing a stolen motor

vehicle,5 and one count of carrying a concealed weapon (CCW). 6 ECF No. 31 at

PageID.292.


4
  Michigan’s statute for uttering and publishing states: “Any person who shall utter
or pass, or tender in payment as true, any such false, altered, forged or counterfeit
note, certificate or bill of credit for any debt of this state, or any of its political
subdivisions or municipalities, any bank bill or promissory note, payable to the
bearer thereof, or to the order of any person, issued as aforesaid, knowing the same
to be false, altered, forged or counterfeit, with intent to injure or defraud as aforesaid,
shall be guilty of a felony.” MICH. COMP. LAWS § 750.253.
5
  Michigan’s statute for receiving and concealing stolen property states: “A person
shall not buy, receive, possess, conceal, or aid in the concealment of a stolen motor
vehicle knowing, or having reason to know or reason to believe, that the motor
vehicle is stolen, embezzled, or converted.” MICH. COMP. LAWS § 750.535(7).
6
  Michigan’s statute for concealed carry states that it is a felony for a person to carry
certain weapons “concealed on or about his or her person, or whether concealed or
otherwise in any vehicle occupied or operated by the person, except in his or her

                                          - 10 -
Case 2:23-cr-20569-SKD-APP ECF No. 40, PageID.373 Filed 01/16/25 Page 11 of 14




      Four of these convictions—the three for uttering and publishing and the one

for concealing a stolen vehicle—do not support a finding of dangerousness. Under

the Williams framework, these are not crimes against the body, nor do they inherently

pose a significant threat of danger. Rather, these offenses are most similar to the

fraud and deceit-based crimes set forth in Williams’s third category. 113 F.4th at 659.

      However, Johnson’s CCW conviction falls into Williams’s second category of

crimes that “pose a significant threat of danger.” Id. A look at Michigan’s concealed-

carry requirements supports this conclusion. Specifically, Michigan law prohibits

carrying a concealed firearm on one’s person or in one’s vehicle without a concealed-

pistol license (CPL). MICH. COMP. LAWS § 750.227(2). And to get a CPL, an

applicant must be at least 21 years old and receive “training in the safe use and

handling of a pistol” by successfully completing “a pistol safety training course.” Id.

§ 28.425b(7). At a minimum, that training course must teach:

      (i)     The safe storage, use, and handling of a pistol including, but not
              limited to, safe storage, use, and handling to protect child safety.
      (ii)    Ammunition knowledge, and the fundamentals of pistol
              shooting.
      (iii)   Pistol shooting positions.
      (iv)    Firearms and the law, including civil liability issues and the use
              of deadly force. This portion must be taught by an attorney or an
              individual trained in the use of deadly force.
      (v)     Avoiding criminal attack and controlling a violent confrontation.
      (vi)    All laws that apply to carrying a concealed pistol in this state.


dwelling house, place of business, or on other land possessed by the person, without
a license to carry the pistol as provided by law.” MICH. COMP. LAWS § 750.227(2).
                                         - 11 -
Case 2:23-cr-20569-SKD-APP ECF No. 40, PageID.374 Filed 01/16/25 Page 12 of 14




Id. § 28.425j. The course must also provide at least three hours of instruction at a

firing range, during which an applicant must fire at least thirty rounds of

ammunition. Id.

      These requirements are not for nothing. They reflect a common-sense concern

that concealed firearms are uniquely dangerous, and they represent a common-sense

attempt to minimize that danger.

      For this reason, Johnson, in disregarding the restrictions imposed by the State,

posed a more significant danger to others than someone who complied. See United

States v. Jennings, No. 24-CR-20173, 2024 WL 4560602, at *5 (E.D. Mich. Oct. 24,

2024) (finding that “illegal gun possession charges,” including for CCW, “pose a

significant threat of danger” to the community); United States v. Lownsbury, No.

5:22-CR-41, 2024 WL 4264970, at *7 (N.D. Ohio Sept. 23, 2024) (same). Of note,

Johnson’s CCW conviction came before he was 21—before he was old enough to

even qualify for a CPL—and nothing suggests that he had ever otherwise received

any firearms training.7

      Johnson emphasizes that the elements of a CCW offense do not include harm

or the threat of harm to others. ECF No. 31 at PageID.292. True enough, but the



7
  That is not to suggest that every CCW conviction will necessarily suggest
dangerousness. Imagine a scenario in which a defendant had obtained a CPL and the
proper training, but simply allowed her CPL to expire. There, a court could perhaps
conclude that the defendant’s conduct did not pose a danger to others.
                                       - 12 -
Case 2:23-cr-20569-SKD-APP ECF No. 40, PageID.375 Filed 01/16/25 Page 13 of 14




elements of the other crimes listed in Williams’s second category, like drug

trafficking and burglary, do not necessarily include those either. See, e.g., 21 U.S.C.

§ 841 (drug trafficking); MICH. COMP. LAWS § 750.110a (home invasion). Rather,

what matters is the threat of danger that accompanies such crimes. It is not a stretch

to conclude that a gun in the hands of a young and untrained person poses such a

threat.

          However, even if Johnson’s CCW conviction were not enough to disarm him,

his possessing a firearm in violation of his probation conditions probably is. See

United States v. Goins, 118 F.4th 794, 801–02 (“[O]ur national’s historical tradition

of forfeiture laws . . . also supports disarming those on parole, probation, or

supervised release.”) (citing United States v. Moore, 111 F.4th 266, 269–72 (3d Cir.

2024)). True, Goins suggests that a defendant’s dangerousness may factor into this

analysis. See id. at 798 (“Congress may lawfully disarm probationers . . . who (1)

are under a firearm possession limitation as a condition of probation, (2) are under a

relatively short probation sentence for a dangerous crime, and (3) whose repeated

and recent actions show a likelihood of future dangerous conduct.”). And if that is

the case, then Goins would be less likely to apply here because Johnson was on

probation for the stolen-vehicle charge—a nondangerous crime. But other times, the

Sixth Circuit has upheld § 922(g)(1) charges under Goins based on the fact of a

probation violation alone. See United States v. Taylor, No. 23-5644, 2024 WL

                                        - 13 -
Case 2:23-cr-20569-SKD-APP ECF No. 40, PageID.376 Filed 01/16/25 Page 14 of 14




4891756, at *2 (6th Cir. Nov. 25, 2024) (“Like the defendant in Goins, Taylor was

also on probation when he possessed firearms in violation of § 922(g)(1). So like

Goins, Taylor's Second Amendment as-applied challenge to his § 922(g)(1)

conviction fails.”). This language suggests that it was constitutional to temporarily

disarm Johnson based on his probation violation alone.

      For these reasons, § 922(g)(1) is constitutional as applied to Johnson.

                               IV. CONCLUSION

      Accordingly, it is ORDERED that Johnson’s Motion to Dismiss the

Indictment, ECF No. 18, is DENIED.



                                                    /s/Susan K. DeClercq
                                                    SUSAN K. DeCLERCQ
                                                    United States District Judge
Dated: January 16, 2025




                                       - 14 -
